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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION


  UNITED STATES, et al.,
                                                        No. 1:23-cv-00108-LMB-JFA
                 Plaintiffs,
         v.

  GOOGLE LLC,

                 Defendant.


  ASSOCIATED NEWSPAPERS, LTD, MAIL MEDIA, INC. AND GANNETT CO. INC.’S
        MOTION FOR FURTHER ORDER REGARDING COORDINATION

        Pursuant to Paragraph 7 of the Order Regarding Coordination of Discovery (Dkt. 251),

 Associated Newspapers, Ltd., Mail Media, Inc. (collectively “Daily Mail”), and Gannett Co.,

 Inc. (“Gannett”) respectfully request the Court enter a further order regarding coordination.

        Daily Mail and Gannett have met and conferred with Plaintiffs and they do not oppose

 the relief sought in this motion. Daily Mail and Gannett have also met and conferred with

 Google, and it opposes the relief sought in this motion.

        The grounds for this motion are set forth in the accompanying memorandum.
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 Dated: January 19, 2024               Respectfully submitted,

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                                       Inc.
